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UNI'l`ED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF TEXAS mm fear

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BROWNSVILLE DIVISION
APR 1 9 2019
Davi'd J. Bradicy, Cierk of com
UNITED STATES OF AMERICA § WAIVER OF PRELIMINARY
VS EXAMINATION

§ (Rule 5, Fed.R.Crim.P.)

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l, /”l§l’l /( q @€/7@/ F)€,<,`P fiC](? , charged in a complaint pending in this
District with QOSS€§SI,(¥'\ 66 (YU)’O'UG`WC\- bd,/lfl'l€fli~ `l`($ wl L§"if\`blfl`€

v
in violation of 62\ id §§ , §§ l ft 82_{§ ¢ , and having appeared before this Cour“c and

been advised of my rights as required by Rule 5, Fed.R.Crim.P., including my right to have a

preliminary examination, do hereby waive my right to a preliminary examination

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Counsel Mfendant

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